
31 A.3d 618 (2011)
423 Md. 446
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND
v.
Brian William YOUNG.
Misc. Docket AG No. 54, September Term, 2011.
Court of Appeals of Maryland.
November 9, 2011.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, *619 Brian William Young, to disbar Respondent by consent from the practice of law.
The Court having considered the Petition, it is this 9th day of November, 2011,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Brian William Young, be and is hereby disbarred by consent from the practice of law in the State of Maryland, and it is further
ORDERED, that the Clerk of this Court shall remove the name of Brian William Young from the register of attorneys in the Court and shall certify that fact to the Client Protection Fund and the Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772(d).
